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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION
LARRY BOLOYAN,
Plaintiff,
VS. Case No. 8:10-cv-2629-T-27TGW
PORTFOLIO RECOVERY ASSOCIATES, LLC,

Defendant.
/

ORDER OF DISMISSAL
BEFORE THE COURT is a notice of voluntary dismissal (Dkt. 10). The notice is
APPROVED. Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), this cause has been DISMISSED WITH
PREJUDICE. The Clerk is directed to CLOSE this case.

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DONE AND ORDERED this 2 6 day of January, 2012.

  

D. WHITTEMORE
United States District Judge

Copies to:

Counsel of Record
